                   UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF NORTH CAROLINA
                         WESTERN DIVISION

                        NO. 5:l0-CR-00123-H-2


UNITED STATES OF AMERICA

          v.                          ORDER TO SEAL

ALSIBIADES ARRIZON-SANTOYO


     Upon motion of the United States it is hereby ORDERED that

Docket Number 33 be sealed until such time as requested to be

unsealed by the United States Attorney and the court orders such

materials unsealed.
                  ~
    This the ~~(jay of June, 2010.




                                                             . HOWARD
                                                            STRICT JUDGE




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